Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10   Desc:
                       Proposed Order Page 1 of 21



                                  Exhibit A

                               Proposed Order
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                                         Desc:
                       Proposed Order Page 2 of 21



                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                       :
THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                       :
                  Debtors.1                                            :
---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3566 (LTS)
                                                                       :
THE EMPLOYEES RETIREMENT SYSTEM OF THE : This filing relates only to
GOVERNMENT OF THE COMMONWEALTH OF                                      : Debtor ERS and shall be
PUERTO RICO,                                                           : filed in the lead Case No.
                                                                       : 17-BK-3283 (LTS) and
                  Debtor.                                              : Case No. 17-BK-3566 (LTS)
---------------------------------------------------------------------- X

    ORDER, PURSUANT TO BANKRUPTCY CODE SECTION 502 AND BANKRUPTCY
       RULE 3007, ESTABLISHING INITIAL PROCEDURES WITH RESPECT TO
     OBJECTIONS OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
       CLAIMS ASSERTED BY HOLDERS OF BONDS ISSUED BY EMPLOYEES
           RETIREMENT SYSTEM OF GOVERNMENT OF PUERTO RICO


1
     The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four
     (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
     Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
     Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
     Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
     No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
     Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
     Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
     Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
     Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                             Desc:
                       Proposed Order Page 3 of 21



        Upon consideration of the Motion of Official Committee of Unsecured Creditors, Under

Bankruptcy Code Sections 105(a) and 502 and Bankruptcy Rule 3007, Establishing Procedures

with Respect to Objections to Claims Asserted by Holders of Bonds Issued by Employees

Retirement System of Government of Puerto Rico and Requesting Related Relief (the “Motion”),2

and the exhibits attached thereto, and the Court having found and determined that: (i) the Court

has jurisdiction to consider the Motion and the relief requested therein pursuant to section 502 of

the Bankruptcy Code as incorporated by section 301 of PROMESA and Bankruptcy Rule 3007,

as incorporated by section 310 of PROMESA; (ii) venue is proper before this Court pursuant to

PROMESA section 307(a); (iii) due and proper notice of this Motion has been provided under

the particular circumstances and no other or further notice need be provided; (iv) based on the

statements and arguments made in the Motion, the relief requested in the Motion is in the best

interest of ERS and its creditors; (v) any objections to the relief requested in the Motion have

been withdrawn or overruled; and (vi) the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein. Accordingly, it is hereby ORDERED THAT:

        1.       The relief requested in the Motion is GRANTED to the extent set forth herein.

        2.       The Committee is hereby authorized to proceed under Bankruptcy Rule 3007(c),

as incorporated by section 310 of PROMESA, with its Objections to the ERS Bonds on an

omnibus basis; and the filing of the Objections shall not limit the ability of the Committee, or

any other party in interest, to subsequently object to the ERS Bonds on grounds other than those

set forth in the Objections, and all other claims, counterclaims and defenses are hereby

preserved.




2
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                       Desc:
                       Proposed Order Page 4 of 21



       3.      The Objection Notice, Objection Procedures and form of Notice of Participation,

annexed hereto as Exhibit 1, Exhibit 2, and Exhibit 3 respectively (collectively, the “Objection

Procedure Documents”), are hereby approved. The Objection Procedures are deemed to have

been incorporated herein.

       4.      The Objector shall cause Prime Clerk, within five (5) days of entry of this Order,

to serve copies of the Objection Procedure Documents upon all individuals and entities who filed

proofs of claim that are reflected on Prime Clerk’s database as “bond claims” against ERS.

       5.      The Objectors shall cause Prime Clerk, immediately upon entry of this Order, to

commence service of the Objection Procedure Documents upon all individuals and entities who

are beneficial holders of the ERS Bonds in the manner described in the Declaration of Christina

Pullo of Prime Clerk LLC Regarding Service of Objection Notice Upon Beneficial Holders of

Challenged GO Bonds, annexed as Exhibit A to the Informative Motion of (I) Financial

Oversight and Management Board, Acting Through the Special Claims Committee, and (II) The

Official Committee of Unsecured Creditors Regarding Service of Objection Notice and

Procedures Upon Beneficial Holders of Challenged GO Bonds [Dkt. No. 5049] submitted in

connection with the objection to the Challenged GO Bonds.

       6.      The Committee shall cause the publication of a notice, substantially in the form of

the Objection Notice once in (a) El Nuevo Dia in Spanish (primary circulation in Puerto Rico),

(b) Caribbean Business in English (primary circulation in Puerto Rico), (c) El Diario and El

Nuevo Herald, both in Spanish (primary circulation in New York and Miami, respectively),

(d) The Bond Buyer, and (e) on the municipal bond website EMMA,

https://emma.msrb.org/Home, each except for Caribbean Business within five (5) business days

of the entry of this Order, and with respect to Caribbean Business, within fourteen (14) days of
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                           Desc:
                       Proposed Order Page 5 of 21



the entry of this Order, which publication notice shall be deemed, good, adequate and sufficient

publication notice of the Objection and the Objection Procedures.

         7.       DTC shall give notice to its Participants of the Objection Procedure Documents

by posting a copy of said Objection Procedure Documents to its Legal Notification System in

accordance with DTC’s Rules and customary procedures within five (5) days of the entry of this

Order.

         8.       The terms of and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         9.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated:        April ____, 2019

                                                         ___________________________________
                                                         HON. LAURA TAYLOR SWAIN
                                                         UNITED STATES DISTRICT JUDGE
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10   Desc:
                       Proposed Order Page 6 of 21



                                  Exhibit 1

                               Objection Notice
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10 Desc:
                       Proposed Order Page 7 of 21
*THIS NOTICE REQUIRES ACTION ON OR BEFORE [DATE THAT IS SIXTY DAYS
FROM DATE OF ENTRY OF ORDER GRANTING PROCEDURES MOTION]*

                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                       :
THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                       :
                  Debtors.1                                            :
---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3566 (LTS)
                                                                       :
THE EMPLOYEES RETIREMENT SYSTEM OF THE : This filing relates only to
GOVERNMENT OF THE COMMONWEALTH OF                                      : Debtor ERS and shall be
PUERTO RICO,                                                           : filed in the lead Case No.
                                                                       : 17-BK-3283 (LTS) and
                  Debtor.                                              : Case No. 17-BK-3566 (LTS)
---------------------------------------------------------------------- X

      NOTICE OF OBJECTIONS OF OFFICIAL COMMITTEE OF UNSECURED
       CREDITORS, PURSUANT TO BANKRUPTCY CODE SECTION 502 AND
    BANKRUPTCY RULE 3007, TO CLAIMS ASSERTED BY HOLDERS OF BONDS
             ISSUED BY EMPLOYEES RETIREMENT SYSTEM OF
                     GOVERNMENT OF PUERTO RICO

1
    The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four
    (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
    Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
    Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
    Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
    No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
    Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
    Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
    Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
    Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10 Desc:
                       Proposed Order Page 8 of 21
*THIS NOTICE REQUIRES ACTION ON OR BEFORE [DATE THAT IS SIXTY DAYS
FROM DATE OF ENTRY OF ORDER GRANTING PROCEDURES MOTION]*


       You are receiving this notice because you have been identified as holding one or more of
the bonds issued by the Employees Retirement System of the Government of Puerto Rico in
2008 (the “ERS Bonds”).

       Please note that the Official Committee of Unsecured Creditors (the “Committee” or
“Objector”) has filed objections, each dated March 12, 2019 [Dkt Nos. 381 and 384] (together,
the “Objections”), to claims asserted by holders of ERS Bonds. The full text of the Objections
may be found on the Internet by using the following links: [Prime Clerk links]

       These Objections seek to disallow and invalidate claims on account of ERS Bonds (“ERS
Bond Claims”). Subject to applicable appellate rights, if the Court grants the Objections in
whole or in part, holders of ERS Bond Claims’ recovery on account of the ERS Bonds will
be eliminated in whole or in part, and such holders will be forever barred from asserting
such claims against the ERS, from voting on any plan of adjustment filed in in this Title III
Case, and from participating in any distribution in this Title III Case on account of such
ERS Bond Claims. Thus the Objections may affect your rights. As explained in the next
paragraph, you have the right to file a Notice of Participation if you wish to respond to the
Objections. The Notice of Participation must be filed by [INSERT DATE THAT IS 60
DAYS AFTER ENTRY OF ORDER GRANTING PROCEDURES MOTION] (the
“Participation Deadline”).

        Please note further, that on ________, the District Court granted the Objector’s motion
for approval of certain procedures with respect to such Objections (the “Objection Procedures”).
If you intend to respond to the Objections or participate in the litigation in any way, you must
follow the Objection Procedures which require, among other things, that you file with the
District Court and serve by email a Notice of Participation by the Participation Deadline. A form
Notice of Participation is provided herewith. Instructions for filing the Notice of Participation
with the District Court, including for those persons who are not represented by counsel are
set forth at the bottom of the form of Notice of Participation.

        For those parties who filed with the District Court and served by email Notices of
Participation to the Notice Parties at the addresses set forth in paragraph 8 of the Objection
Procedures by the Participation Deadline, no substantive response to the Objections need be filed
until a date set forth in any subsequent scheduling order entered by the District Court.

        Requests for Spanish-language versions of the Notice, Objection Procedures and Notice
of Participation form and any questions regarding this notice should be sent in writing to:

                      Paul Hastings LLP
                      200 Park Avenue
                      New York, NY 10166
                      Attn: Douglass E. Barron
                      NoticeofParticipation@paulhastings.com
                      (212) 318-6690


                                                2
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10 Desc:
                       Proposed Order Page 9 of 21
*THIS NOTICE REQUIRES ACTION ON OR BEFORE [DATE THAT IS SIXTY DAYS
FROM DATE OF ENTRY OF ORDER GRANTING PROCEDURES MOTION]*


        Estas Objeciones tienen el propósito de rechazar e invalidar las reclamaciones
contra los Bonos SRE (las “Reclamaciones de los Bonos SRE”). Si el Tribunal concede las
Objeciones parcial o totalmente, sujeto a los derechos apelativos aplicables, quedará
eliminada total o parcialmente la recuperación de estos Bonos SRE y se les prohibirá por
siempre a dichos tenedores presentar tales reclamaciones en contra del SRE, votar en
cualquier plan de ajuste presentado en este Caso bajo el Título III y participar en cualquier
distribución efectuada en este Caso bajo el Título III a causa de dichas Reclamaciones de
los Bonos SRE. Por tanto, las Objeciones pueden afectar sus derechos. Usted tiene el
derecho de presentar un Aviso de Participación si quiere responder a las Objeciones. El
Aviso de Participación tiene que presentarse en o antes de [sesenta días después de la
emisión de la orden]. Las partes que tengan preguntas o deseen recibir copia de este aviso,
los Procedimientos de Objeción y el Aviso de Participación en español deben enviar una
solicitud por escrito a NoticeofParticipation@paulhastings.com.


The CUSIP numbers of the general obligation bonds affected by the Objections are:


       CUSIP
       29216MAF
       29216MAA
       29216MAB
       29216MAG
       29216MAH
       29216MAJ
       29216MAC
       29216MAK
       29216MAL
       29216MAD
       29216MAM
       29216MAN
       29216MAP
       29216MAQ
       29216MAE
       29216MBA
       29216MBB
       29216MBC
       29216MBD
       29216MBE
       29216MBF
       29216MBG
       29216MBH
       29216MBJ
       29216MAT
       29216MAU
                                              3
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10 Desc:
                      Proposed Order Page 10 of 21
*THIS NOTICE REQUIRES ACTION ON OR BEFORE [DATE THAT IS SIXTY DAYS
FROM DATE OF ENTRY OF ORDER GRANTING PROCEDURES MOTION]*

      29216MAV
      29216MAW
      29216MAX
      29216MAY
      29216MAZ
      29216MBL
      29216MBM
      29216MBN
      29216MBP




                                     4
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10   Desc:
                      Proposed Order Page 11 of 21



                                  Exhibit 2

                             Objection Procedures
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                                         Desc:
                      Proposed Order Page 12 of 21



                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                       :
THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                       :
                  Debtors.1                                            :
---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3566 (LTS)
                                                                       :
THE EMPLOYEES RETIREMENT SYSTEM OF THE : This filing relates only to
GOVERNMENT OF THE COMMONWEALTH OF                                      : Debtor ERS and shall be
PUERTO RICO,                                                           : filed in the lead Case No.
                                                                       : 17-BK-3283 (LTS) and
                  Debtor.                                              : Case No. 17-BK-3566 (LTS)
---------------------------------------------------------------------- X

             INITIAL PROCEDURES FOR RESOLVING OBJECTIONS
      OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS PURSUANT TO
    BANKRUPTCY CODE SECTION 502 AND BANKRUPTCY RULE 3007, TO CLAIMS
     ASSERTED BY HOLDERS OF BONDS ISSUED BY EMPLOYEES RETIREMENT
                 SYSTEM OF GOVERNMENT OF PUERTO RICO


1
     The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four
     (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
     Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
     Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
     Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
     No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
     Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
     Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
     Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
     Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                                        Desc:
                      Proposed Order Page 13 of 21



                                                 [April __ 2019]

       Pursuant to the Order (the “Order”) of the United States District Court for the District of
Puerto Rico (the “District Court”), dated [April __, 2019], [Dkt. No. ], the following initial
procedures will apply to the resolution of the objections filed by the Official Committee of
Unsecured Creditors (the “Committee” or “Objector”) to claims asserted by holders of bonds
issued by Employees Retirement System of the Government of Puerto Rico, each dated March
12, 2019 [Dkt Nos. 381 and 384] (together, the “Objections”).2

        The Committee filed the Objections contending that all claims (the “ERS Bond Claims”)
that have been or may be asserted against the Employees Retirement System of the Government
of Puerto Rico (“ERS”) based on bonds issued by ERS in 2008 (the “ERS Bonds”) are invalid.
Holders of ERS Bonds are hereafter referred to as “ERS Bondholders.”

1.       Exclusivity of Procedures

        These procedures shall be the exclusive means to participate in the litigation before the
District Court of issues relating to the disallowance of ERS Bond Claims on the grounds set forth
in the Objections.

2.       Notice of Participation

         Any party in interest, including, without limitation, the Financial Oversight and
Management Board for Puerto Rico, the Puerto Rico Fiscal Agency and Financial Advisory
Authority and the Official Committee of Retired Employees of the Commonwealth of Puerto
Rico, and any person or entity that holds an ERS Bond, whether or not such person or entity is
identified in the Objections, that wishes to participate in the litigation of the Objections must
serve by email and file a notice of its intent to participate in such litigation (a “Notice of
Participation”).

        The Notice of Participation shall (a) indicate whether the party in interest who filed such
notice (each, a “Participant”) supports or opposes the Objections; (b) provide the name, address
and email address of the Participant and its counsel, if any; and (c), to the extent filed by an ERS
Bondholder, set forth (i) whether all or part of such ERS Bonds were purchased on the secondary
market, and (ii) the CUSIP numbers for such ERS Bonds to the best of such ERS Bondholder’s
knowledge and belief, as of the date of such Notice of Participation (the “Notice Information”).
The Notice of Participation shall cover all ERS Bonds owned as of the date of such Notice of
Participation or thereafter acquired by the Participant and shall not be limited to the specific
CUSIP numbers listed. For the avoidance of doubt, a party in interest may submit a Notice of
Participation individually and/or through an ad hoc group. A Notice of Participation submitted
through an ad hoc group shall entitle each member of such ad hoc group to participate either
individually or as part of the group, and each such member reserves the right to act individually
from time to time in respect of any issue, argument, or proceeding. To the extent that an entity
ceases to be a member of an ad hoc group that filed a Notice of Participation, such member may
continue to participate in the litigation of the Objections in the same manner as a Participant that
2
     The full text of the Objections may be found on the Internet by using the following links: [Prime Clerk links]



                                                          2
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                         Desc:
                      Proposed Order Page 14 of 21



had filed a timely individual Notice of Participation; provided however, that such Participant will
be bound by (i) any actions, arguments, statements or positions made or taken by such ad hoc
group prior to the date on which the Participant ceased to be a member of such ad hoc group (the
“Separation Date”), and (ii) any District Court orders applicable to members of such ad hoc
group as of the Separation Date, in each case to the same extent, if any, that members of such ad
hoc group would be bound by such actions, arguments, statements, positions or District Court
orders. To the extent that an entity becomes a member of an ad hoc group after the Participation
Deadline, such member shall be covered by the Notice of Participation timely filed by the ad hoc
group, provided that (i) such Notice of Participation shall be updated to include the Notice
Information for the new group member, and (ii) if such member did not file its own timely
Notice of Participation, such member shall have obtained, pursuant to paragraph 5 below,
District Court approval to participate in the litigation, individually or as a member of the ad hoc
group, upon a showing of good cause. Participants who file Notices of Participation that support
the Objections shall collectively constitute “Joint Objectors,” and parties that oppose the relief
sought in the Objections shall collectively constitute the “Respondents.”

        Each Notice of Participation must be served by email on the “Notice Parties” identified in
paragraph 8 below and filed electronically with the District Court pursuant to its Electronic Case
Filing procedures. Participants without counsel may file the Notice of Participation by
mailing or delivering it by hand to: The Clerk of the United States District Court for the
District of Puerto, Room 150 Federal Building, 150 Carlos Chardon Avenue, San Juan, PR
00918-1767 the clerk’s office of the District Court in San Juan, Puerto Rico.

        The deadline to file with the District Court and serve by email a Notice of
Participation is [60 days from entry of the Order], 2019 (the “Participation Deadline”). For
those parties that file with the District Court and serve by email Notices of Participation by the
Participation Deadline, no substantive response to the Objections need be filed until a date set
forth in any subsequent scheduling order entered by the District Court.

        Subject to paragraph 5 below, any party that does not file a Notice of Participation will
not receive notices of filings and events in the litigation and may not be allowed to substantively
participate in the litigation absent permission granted by the District Court upon a showing of
good cause, but may nevertheless have its rights affected by the outcome of the litigation. In
particular, and subject to applicable appellate rights, if the District Court grants the Objections in
whole or in part, claimants’ recovery on account of the ERS Bond Claims will be eliminated in
whole or in part, and claimants will be forever barred from asserting such claims against ERS,
from voting on any plan of adjustment filed in this Title III Case, and from participating in any
distribution in this Title III Case on account of such claims arising from the ERS Bonds and the
ERS Bond Claims. By filing a Notice of Participation, a claimant will have the opportunity to be
heard on the merits of the Objections, will be entitled to receive notification of case events
specific to the Objections, and will receive notice of opportunities to meet and confer with other
parties concerning issues relating to the litigation of the Objections.

        Nothing herein, nor the mere filing of a Notice of Participation by a person or entity that
is not a holder of an ERS Bond, shall operate to confer standing upon such person or entity to
participate in the litigation of the Objections, and all rights to object to any person or entity’s
standing are preserved.


                                                  3
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                           Desc:
                      Proposed Order Page 15 of 21



3.      The Initial Proposal Exchange/ Recommendation

       On the date that is five (5) days after the Participation Deadline, the Objector shall file
with the District Court a list of all parties that filed Notices of Participation, their counsel, and
whether such Participants are Joint Objectors or Respondents. Such list will be updated as
necessary every thirty (30) days to reflect any late-filed or updated Notices of Participation.

        Twenty-one (21) days after the Participation Deadline (the “Initial Proposal Exchange
Deadline”), Joint Objectors and the Objector, on the one hand, and Respondents (individually
and/or through ad hoc groups), on the other, will simultaneously exchange proposals (the “Initial
Proposals”) by email setting forth the procedures that will govern litigation of the Objections,
including, without limitation, anticipated legal and factual disputes, the sequence and timing of
discovery, anticipated dispositive motion practice and the timing thereof, and treatment of
holders of ERS Bonds who did not file Notices of Participation (the “Objection Litigation
Procedures”). The Objector will send by email the Initial Proposals to all parties who filed
Notices of Participation, but such Initial Proposals will not be filed with the District Court.
Parties will not be precluded from raising claims or defenses that are not included in the Initial
Proposals.

        During the twenty-one (21) day period following the Initial Proposal Exchange Deadline,
the Objector and the Participants shall meet and confer concerning the substance of the Initial
Proposals in an effort to develop a joint recommendation regarding Objection Litigation
Procedures for the District Court. The Objector will convene the meet and confer session(s) and
provide notice of any meeting(s) or phone conference(s) to all Participants. The Objector and the
Participants shall use reasonable efforts to develop a fully consensual recommendation with
respect to Objection Litigation Procedures.

        On the date that is twenty-one (21) days following the Initial Proposal Exchange
Deadline, the Objector shall cause to be filed with the District Court a recommendation
concerning the proposed Objection Litigation Procedures (the “Recommendation”) and shall
indicate which Participants support the Recommendation, and the Participants, if any, that object
to such Recommendation. The Objector shall have caused a draft of the Recommendation to
have been sent by email to all Participants at least five (5) business days prior to filing the
Recommendation; thereafter, Participants shall have four (4) business days to provide further
input on the proposed Objection Litigation Procedures.

       Any responses to the Recommendation must be filed with the District Court within seven
(7) days of the filing of the Recommendation (the “Response Deadline”), and any replies to such
responses must be filed within three (3) days following the Response Deadline (the “Reply
Deadline”).




                                                   4
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                          Desc:
                      Proposed Order Page 16 of 21



4.     Litigation

       A.      District Court Status Conference

        The Objector will request that the District Court hold a status conference as soon as
practicable after the Reply Deadline to discuss and decide matters set forth in the
Recommendation and any responses and replies thereto, including without limitation:

         (i)   the sequence and timing of any discovery;

        (ii)   the extent to which joint briefs can or should be submitted;

       (iii)   a briefing schedule; and

       (iv)    any other matter that will contribute to the fair and efficient resolution of the
               issues raised in the Objections and the Notices of Participation.

       B.      Coordination

       To the extent that the District Court determines that joint briefs can and should be

submitted –

        (a)    The Objector and any Joint Objector shall cooperate in good faith in order to file
joint papers with respect to the Objections, and shall file separate papers only to the extent
necessary to present or discuss issues, positions or arguments upon which they are unable to
agree in good faith.

        (b)      Likewise, the Respondents shall cooperate in good faith to file joint papers with
respect to the litigation of the Objections and shall file separate papers only to the extent
necessary to present or discuss issues, positions or arguments upon which they are unable to
agree in good faith.

       With respect to discovery –

       The Objector and the Joint Objectors, on the one hand, and the Respondents, on the other
hand, shall use reasonable efforts to coordinate the development of discovery that is requested
from the other parties and to coordinate communications concerning such discovery.

5.     Notices of Participation Submitted After the Participation Deadline

         Any party that submits a Notice of Participation after the Participation Deadline, but at
least thirty (30) days prior to a trial on the merits of the Objections, may participate in the
litigation of the Objections by receiving notices of developments in the litigation and invitations
to any meet and confer sessions among the parties to the litigation. Such party, however, shall be
bound by any orders entered by the District Court (including any order granting a dispositive
motion, such as a motion for summary judgment) and/or any agreements reached among the
Objector, Joint Objectors and Respondents prior to the submission of such Notice of


                                                  5
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                         Desc:
                      Proposed Order Page 17 of 21



Participation regarding the conduct of the litigation, including with respect to the matters set
forth in paragraph 3 above. Moreover, absent permission granted by the District Court upon a
showing of good cause, any party that fails to file a Notice of Participation, or that files a Notice
of Participation after the Participation Deadline, shall be prohibited from filing separate
pleadings, serving discovery, or being heard at any hearing on the Objections.

6.     No Duty

      No Respondent shall have a duty to any other Respondent or to any ERS Bondholder
who does not file a Notice of Participation.

7.     Other Objections Permitted

        The fact that the Objector has objected to the ERS Bond Claims shall not preclude (i) the
Objector or any party in interest from objecting to an ERS Bond Claim on any basis not set forth
in the Objections or to any other claim asserted by the ERS Bondholder unrelated to the ERS
Bonds or (ii) a party in interest from asserting additional grounds for objecting to the ERS Bond
Claims pursuant to a Notice of Participation.

8.     The Following Persons are the “Notice Parties”


PAUL HASTINGS LLP                                     CASILLAS, SANTIAGO & TORRES LLC
Attn: Luc. A. Despins, Esq.                           Attn: Juan J. Casillas Ayala, Esq.,
James R. Bliss, Esq.                                  Diana M. Batlle-Barasorda, Esq.,
Nicholas A. Bassett, Esq.                             Alberto J. E. Añeses Negrón, Esq.,
200 Park Avenue                                       Ericka C. Montull-Novoa, Esq.,
lucdespins@paulhastings.com                           El Caribe Office Building
jamesbliss@paulhastings.com                           53 Palmeras Street, Ste. 1601
nicholasbassett@paulhastings.com                      San Juan, Puerto Rico 00901-2419
                                                      jcasillas@cstlawpr.com
                                                      dbatlle@cstlawpr.com
                                                      aaneses@cstlawpr.com
                                                      emontull@cstlawpr.com




                                                  6
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10   Desc:
                      Proposed Order Page 18 of 21



                                   Exhibit 3

                             Notice of Participation
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10 Desc:
                      Proposed Order Page 19 of 21
*THIS NOTICE MUST BE FILED AND SERVED ON OR BEFORE [DATE THAT IS
SIXTY DAYS FROM ENTRY OF ORDER]*
                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                       :
THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                       :
                  Debtors.1                                            :
---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3566 (LTS)
                                                                       :
THE EMPLOYEES RETIREMENT SYSTEM OF THE : This filing relates only to
GOVERNMENT OF THE COMMONWEALTH OF                                      : Debtor ERS and shall be
PUERTO RICO,                                                           : filed in the lead Case No.
                                                                       : 17-BK-3283 (LTS) and
                  Debtor.                                              : Case No. 17-BK-3566 (LTS)
---------------------------------------------------------------------- X

        NOTICE OF PARTICIPATION IN OBJECTIONS OF OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS, PURSUANT TO BANKRUPTCY CODE SECTION 502 AND
    BANKRUPTCY RULE 3007, TO CLAIMS ASSERTED BY HOLDERS OF BONDS ISSUED BY
         EMPLOYEES RETIREMENT SYSTEM OF GOVERNMENT OF PUERTO RICO




1
      The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four
      (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
      Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
      Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
      Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
      No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
      Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
      Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
      Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
      Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                                 Desc:
                      Proposed Order Page 20 of 21


        This Notice of Participation must be served and filed no later than [sixty days from entry of
order] in accordance with the instructions set forth at the end of this document.

         The party identified below (“Participant”) hereby advises the Official Committee of Unsecured
Creditors (the “Committee”) that it intends to participate in the litigation of the Committee’s objections to
claims, each dated March 12, 2019 [Dkt Nos. 381 and 384] (together, the “Objections”), which assert that
all claims that have been or may be asserted against the Employees Retirement System of the Government
of Puerto Rico (“ERS”) on account of bonds issued by ERS in 2008 (the “ERS Bonds”) are invalid.

       To ensure full participation rights in the litigation of the Objections, Participant provides all of the
information requested in items 1 through 3 below:

1.      Participant’s contact information, including email address, and that of its counsel, if any:

Participant Name and Contact Information                         Counsel Contact Information (if any)

___________________________                                      ___________________________
Participant Name                                                 Firm Name (if applicable)
___________________________                                      ___________________________
Contact Person (if Participant is not an individual)             Contact Person
___________________________                                      ___________________________
Email Address                                                    Email Address



___________________________                                      ___________________________
Address line 1                                                   Address line 1
___________________________                                      ___________________________
Address line 2                                                   Address line 2
___________________________                                      ___________________________
City, State Zip Code                                             City, State Zip Code
___________________________                                      ___________________________
Country                                                          Country

2.      Participant advises that it (choose one of the following by marking “X” in the appropriate space):

            ______ intends to support the relief requested in the Objections (i.e., Participant
            believes the Court should find that the ERS Bonds are invalid); or

            _______intends to oppose the relief requested in the Objections (i.e., Participant
            believes that the Court should find that the ERS Bonds are valid)




                                                       2
Case:17-03283-LTS Doc#:5589-1 Filed:03/12/19 Entered:03/12/19 16:37:10                                 Desc:
                      Proposed Order Page 21 of 21




3.       If Participant is not a holder of a ERS Bond, it can skip to the end of this Notice and sign. If
         Participant is a holder of one or more ERS Bonds, Participant must respond to the following
         paragraphs (a) and (b) to the best of Participant’s knowledge.

             (a)    Provide the CUSIP Numbers of all ERS Bonds held by Participant:



             (b)     Did Participant purchase any of its ERS Bonds in whole or in part on the secondary
                     market? YES or NO (please circle one).


By: ____________________________
    Signature

     ____________________________
     Print Name

     ____________________________
     Title (if Participant is not an Individual)

     ____________________________
     Date

Instructions for Serving and Filing Notice of Participation: This Notice of Participation must be (i)
served by email on the Notice Parties set forth in paragraph 8 of the Objection Procedures and (ii) filed
electronically with the District Court pursuant to its Electronic Case Filing procedures. If the
Participant is not represented by counsel, the Participant may file a paper copy of this Notice of
Participation with the District Court by delivering such Notice of Participation by mail or by hand
addressed to: The Clerk of the United States District Court for the District of Puerto, Room 150
Federal Building, 150 Carlos Chardon Avenue, San Juan, PR 00918-1767.




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